                          Case 23-16969          Doc 1131    Filed 05/07/25    Page 1 of 1

                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF MARYLAND
                                          at Baltimore
                                   In re:     Case No.: 23−16969 − MMH    Chapter: 11

Roman Catholic Archbishop of Baltimore,
Debtor.

                                            NOTICE OF STATUS HEARING

PLEASE TAKE NOTICE that a hearing will be held on 6/2/25 at 10:00 a.m., by videoconference.

to consider and act upon the following:

1 − Chapter 11 Voluntary Petition Non−Individual. Fee Amount $1738 Filed by Roman Catholic Archbishop of
Baltimore. Chapter 11 Plan Exclusivity expires 01/29/2024. Government Proof of Claim due by 03/27/2024. (Hopkin,
Catherine)


1044 − Order Setting Deadlines and Scheduling May 1, 2025, Hearing (related document(s)1043 Expedited Motion
for (I) Relief from the Automatic Stay Pursuant to 11 U.S.C. § 362(d)(1) and (II) an Order Establishing the Date on
Which Proofs of Claim Initiated or Commenced a Proceeding Under Maryland's CVA Filed by The Official
Committee Of Unsecured Creditors. (Arter, Laurie) Modified on 4/16/2025 to include the title of the motion.
(Komisarek, Anna Marie).


1092 − Notice of Data Security Incident Filed by Berkeley Research Group, LLC. (Attachments: # 1 Exhibit Incident
Letter) (Bekman, Jodie)


1129 − Response on behalf of US Trustee − Baltimore Filed by Hugh M. (UST) Bernstein (related document(s)1092
Notice filed by Financial Advisor Berkeley Research Group, LLC). (Bernstein, Hugh)




NOTICE TO MOVING PARTY

A service list or certificate of service regarding parties noticed by the court may be obtained through CM/ECF
or PACER. If you believe that a party entitled to notice is not listed, please provide notice to that party
forthwith and file an appropriate certification with the Clerk's office.



Dated: 5/7/25
                                                            Mark A. Neal, Clerk of Court
                                                            by Deputy Clerk, Anna Marie Komisarek
                                                            Hearings_MMH@mdb.uscourts.gov



Form ntchrgmdb (rev. 08/13/2024)
